Case 2:22-cv-00277-RWS-RSP Document 164 Filed 01/26/24 Page 1 of 5 PageID #: 32978



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

   AX WIRELESS LLC,                                    §
                                                       §
          Plaintiff,                                   §
                                                       §       Case No. 2:22-cv-00277-RWS-RSP
   v.                                                  §
                                                       §
   DELL INC. ET AL.,                                   §
                                                       §
         Defendants.                                   §

                       FIFTH AMENDED DOCKET CONTROL ORDER

         Before the Court is the Joint Motion to Amend the Docket Control Order, which is

   GRANTED. Dkt. No. 162. It is hereby ORDERED that the following schedule of deadlines is in

   effect until further order of this Court:

    Original Date       Amended Date           Event

    July 15, 2024                              * Jury Selection – 9:00 a.m. in Marshall, Texas


    7 days before                              *Defendant to disclose final invalidity theories, final
    Jury Selection                             prior art references/combinations, and final equitable
                                               defenses.
                                               Defendant’s Final Election of Asserted Prior Art shall
                                               identify no more than six asserted prior art references per
                                               patent from among the ten prior art references previously
                                               identified for that particular patent and no more than a
                                               total of twenty references. For purposes of this Final
                                               Election of
                                               Asserted Prior Art, each obviousness combination counts
                                               as a separate prior art reference.
    10 days before                             *Plaintiff to disclose final election of Asserted Claims.
    Jury Selection                             Plaintiff’s Final Election of Asserted Claims shall
                                               identify no more than five asserted claims per patent
                                               from among the eight previously identified claims and
                                               no more than a total of sixteen asserted claims
    May 13, 2024                               *If a juror questionnaire is to be used, an editable (in
                                               Microsoft Word format) questionnaire shall be jointly


                                                       1
Case 2:22-cv-00277-RWS-RSP Document 164 Filed 01/26/24 Page 2 of 5 PageID #: 32979




     Original Date      Amended Date       Event
                                           submitted to the Deputy Clerk in Charge by this date. 1


     May 13, 2024                          *Pretrial Conference – 1:30 p.m. in Marshall, Texas
                                           before Judge Roy Payne
     April 23, 2024     April 30, 2024     *Notify Court of Agreements Reached During Meet and
                                           Confer

                                           The parties are ordered to meet and confer on any
                                           outstanding objections or motions in limine. The parties
                                           shall advise the Court of any agreements reached no
                                           later than 1:00 p.m. three (3) business days before the
                                           pretrial conference.
     April 23, 2024     April 30, 2024     *File Joint Pretrial Order, Joint Proposed Jury
                                           Instructions, Joint Proposed Verdict Form, Responses to
                                           Motions in Limine, Updated Exhibit Lists, Updated
                                           Witness Lists, and Updated Deposition Designations

     April 16, 2024     April 23, 2024     *File Notice of Request for Daily Transcript or Real
                                           Time Reporting.

                                           If a daily transcript or real time reporting of court
                                           proceedings is requested for trial, the party or parties
                                           making said request shall file a notice with the Court
                                           and e-mail the Court Reporter, Shelly Holmes, at
                                           shelly_holmes@txed.uscourts.gov.

     April 16, 2024     April 23, 2024     File Motions in Limine


                                           The parties shall limit their motions in limine to issues
                                           that if improperly introduced at trial would be so
                                           prejudicial that the Court could not alleviate the
                                           prejudice by giving appropriate instructions to the jury.
     April 16, 2024     April 23, 2024     Serve Objections to Rebuttal Pretrial Disclosures




     April 9, 2024      April 16, 2024     Serve Objections to Pretrial Disclosures; and Serve

1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.
                                                    2
Case 2:22-cv-00277-RWS-RSP Document 164 Filed 01/26/24 Page 3 of 5 PageID #: 32980




      Original Date      Amended Date       Event
                                            Rebuttal Pretrial Disclosures

      March 28, 2024     April 4, 2024      Serve Pretrial Disclosures (Witness List, Deposition
                                            Designations, and Exhibit List) by the Party with the
                                            Burden of Proof
      March 28, 2024     April 4, 2024      *Response to Dispositive Motions (including Daubert
                                            Motions). Responses to dispositive motions that were
                                            filed prior to the dispositive motion deadline, including
                                            Daubert Motions, shall be due in accordance with Local
                                            Rule CV- 7(e), not to exceed the deadline as set forth in
                                            this Docket Control Order.2 Motions for Summary
                                            Judgment shall comply with Local Rule CV-56.
      March 19, 2024     March 26, 2024     *File Motions to Strike Expert Testimony (including
                                            Daubert Motions)

                                            No motion to strike expert testimony (including a
                                            Daubert motion) may be filed after this date without
                                            leave of the Court.
      March 19, 2024     March 26, 2024     *File Dispositive Motions

                                            No dispositive motion may be filed after this date
                                            without leave of the Court.

                                            Motions shall comply with Local Rule CV-56 and Local
                                            Rule CV-7. Motions to extend page limits will only be
                                            granted in exceptional circumstances. Exceptional
                                            circumstances require more than agreement among the
                                            parties.


      March 13, 2024     March 20, 2024     Deadline to Complete Expert Discovery
      March 1, 2024      March 8, 2024      Serve Disclosures for Rebuttal Expert Witnesses
      February 8, 2024 February 15,         Serve Disclosures for Expert Witnesses by the Party with
                       2024                 the Burden of Proof
      February 8, 2024 February 12,         Deadline to Complete Fact Discovery and File Motions
                       2024                 to
                                            Compel Discovery

2
 The parties are directed Local Rule CV-7(d), which provides in part that “[a] party’s failure to oppose
a motion in the manner prescribed herein creates a presumption that the party does not controvert the
facts set out by movant and has no evidence to offer in opposition to the motion.” If the deadline under
Local Rule CV 7(e) exceeds the deadline for Response to Dispositive Motions, the deadline for
Response to Dispositive Motions controls.
                                                    3
Case 2:22-cv-00277-RWS-RSP Document 164 Filed 01/26/24 Page 4 of 5 PageID #: 32981




    Original Date      Amended Date         Event

    February 6, 2024                        Defendant serves their Preliminary Election of Asserted
                                            Prior Art, which shall assert no more than ten prior art
                                            references against each patent and not more than a total
                                            of
                                            40 references
    January 25, 2024                     Plaintiff serves its Preliminary Election of Asserted
                                         Claims, which shall assert no more than eight claims
                                         from each patent and not more than a total of 32 claims.
   (*) indicates a deadline that cannot be changed without showing good cause. Good cause is
   not shown merely by indicating that the parties agree that the deadline should be changed.

                                   ADDITIONAL REQUIREMENTS

           Mediation: While certain cases may benefit from mediation, such may not be appropriate
   for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
   benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
   ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
   mediation within fourteen days of the issuance of the Court’s claim construction order. As a
   part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
   mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
   the Parties should set forth a brief statement of their competing positions in the Joint Notice.

           Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
   Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
   the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
   exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
   must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
   business days after briefing has completed. For expert-related motions, complete digital copies of
   the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
   to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
   than the dispositive motion deadline.

           Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
   include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
   the local rules’ normal page limits.

          Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
   “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
   pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
   changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
   an Order granting leave to designate different lead counsel.

           Motions for Continuance: The following excuses will not warrant a continuance nor
   justify a failure to comply with the discovery deadline:

   (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

                                                    4
Case 2:22-cv-00277-RWS-RSP Document 164 Filed 01/26/24 Page 5 of 5 PageID #: 32982




   (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
          unless the other setting was made prior to the date of this order or was made as a special
          provision for the parties in the other case;

   (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
          was impossible to complete discovery despite their good faith effort to do so.

          Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
   the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
   include a proposed order that lists all of the remaining dates in one column (as above) and the
   proposed changes to each date in an additional adjacent column (if there is no change for a date
   the proposed date column should remain blank or indicate that it is unchanged). In other words,
   the DCO in the proposed order should be complete such that one can clearly see all the remaining
   deadlines
   .         and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
   version of the DCO.

          Proposed DCO: The Parties’ Proposed DCO should also follow the format described
   above under “Amendments to the Docket Control Order (‘DCO’).”

           Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
   the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
   shall also specify the nature of each theory of infringement, including under which subsections of
   35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
   infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
   theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
   written description, enablement, or any other basis for invalidity. The Defendant shall also specify
   each prior art reference or combination of references upon which the Defendant shall rely at trial,
   with respect to each theory of invalidity. The contentions of the Parties may not be amended,
   supplemented,
            SIGNED or dropped
                        this 3rdwithout  leave of the
                                 day of January,      Court based upon a showing of good cause.
                                                    2012.
           SIGNED this 26th day of January, 2024.




                                                          ____________________________________
                                                          ROY S. PAYNE
                                                          UNITED STATES MAGISTRATE JUDGE




                                                     5
